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                      IN THE DISTRICT COURT OF THE LTNITED STATES
                        FOR THE MIDDLE DISTRICT OF ALABAMA
                                  NORTHERN DIVISION


UNITED STATES OF AMERICA,                           ))
                          Plaintiff,              ))
                 v.                                )) MISC Na&-,\ct-- mth-miff-WC
Farnily Dollar Stores,                           ))
Matthews, NC,
                                                 ))
                          Garnishee,
                                                ))
Bobbie Jean, Chilsom,

                         Defendant.
                                                ))
                                       WRIT OF GARNISHMENT

GREETINGS TO:            Family Dollar Stores
                         10301 Monroe Road
                         Matthews, NC 28105

       An Application for a Writ of Garnishtnent against the property of Bobbie Jean Chilsom,

defendant, has been filed with this Court. A Judgment has been entered against the above-named

defendant in the amount of $276,834.27, plus costs and interest. The balance due on the

Judgment as of February 13, 2019 is $276,334.27, with interest accruing at the rate of0 percent

per annum until paid in full.

       You are required by law to answer in writing, under oath, within ten(10) days, whether or

not you have in your custody, control or possession ofany property owned by the debtor,including

non-exempt, disposal earnings.

       Please state whether-or-not you anticipate paying the debtor any future payments and

whether such payments are weekly, bi-weekly or monthly.
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        You must file the original written Answer to this Writ within ten (10) days of your

receipt of this Writ with the United States District Clerk at: Clerk, U. S. District Court,

Middle District of Alabama,One Church Street, Suite B-110, Montgomery,Alabama 36104.

Additionally, you are required by law to serve a copy of your Answer upon the debtor at:

2648 Rutland Street, Montgomery, Alabama, 36108 and upon the United States Attorney,

Post Office Box 197, Montgomery, Alabama 36101.

        Under the law, there is property, which is exempt from this Writ of Garnishment.

Property which is exempt and which is not subject to this Order is listed on the attached Debt

Collection Notice.

        Pursuant to Title 15 U.S.C. §1674, a Garnishee is prohibited from discharging a defendant

from employment by reason of the fact that his earnings have been subject to garnishment.

        If you fail to answer this Writ or to withhold property in accordance with this Writ, the

United States of America may petition the Court for an Order requiring you to appear before the

Court. If you fail to appear or do appear and fail to show good cause why you failed to comply

with this Writ, the Court may enter a Judgment against you for the value of the debtor's

non-exempt property. It is unlawful to pay or deliver to the defendant any item attached by this

Writ.
                                                      Debra P. Mackgtt

                                            UNITED STATES DISTRICT CLERK

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